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 8
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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               1R2:21-FU'0*

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             JOHN EDWARD VILLAFRATE
14                   v.

15   JOHN EDWARD VILLAFRATE,

16             Defendant.

17

18        1.    This constitutes the plea agreement between JOHN EDWARD
19   VILLAFRATE (“defendant”) and the United States Attorney’s Office for
20   the Central District of California (the “USAO”) in the above-
21   captioned case. This agreement is limited to the USAO and cannot bind
22   any other federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                             DEFENDANT’S OBLIGATIONS
25        2.    Defendant agrees to:
26              a.    Give up the right to indictment by a grand jury, and,
27   at the earliest opportunity requested by the USAO and provided by the
28   Court, appear and plead guilty to a single-count information in the



                                                                            10/18/2021
                                                                             0/18/202
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 1   form attached to this agreement as Exhibit A or a substantially

 2   similar form, which charges defendant with Assault by Striking,

 3   Beating, or Wounding, in violation of 18 U.S.C. § 113(a)(4), a Class

 4   A Misdemeanor.

 5                b.   Not contest facts agreed to in this agreement.

 6                c.   Abide by all agreements regarding sentencing contained

 7   in this agreement.

 8                d.   Appear for all court appearances, surrender as ordered

 9   for service of sentence, obey all conditions of any bond, and obey

10   any other ongoing court order in this matter.

11                e.   Agree that all court appearances, including his change

12   of plea hearing and sentencing hearing, may proceed by video-

13   teleconference (“VTC”) or telephone, if VTC is not reasonably

14   available, so long as such appearances are authorized by General

15   Order 20-043 or another order, rule, or statute.         Defendant

16   understands that, under the Constitution, the United States Code, the

17   Federal Rules of Criminal Procedure (including Rules 11, 32, and 43),

18   he may have the right to be physically present at these hearings.

19   Defendant understands that right and, after consulting with counsel,

20   voluntarily agrees to waive it and to proceed remotely.           Defense

21   counsel also joins in this consent, agreement, and waiver.

22   Specifically, this agreement includes, but is not limited to, the

23   following:

24                     i.   Defendant consents under Federal Rules of

25   Criminal Procedure 5(f) and 10(c) and Section 15002(b) of the CARES

26   Act to proceed with his initial appearance and arraignment by VTC or

27   telephone, if VTC is not reasonably available.

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 1                     ii.   Defendant consents under Section 15002(b) of the

 2   CARES Act to proceed with his change of plea hearing by VTC or

 3   telephone, if VTC is not reasonably available.

 4                     iii. Defendant consents under Section 15002(b) of the

 5   CARES Act to proceed with his sentencing hearing by VTC or telephone,

 6   if VTC is not reasonably available.

 7                     iv.   Defendant consents under 18 U.S.C. § 3148 and

 8   Section 15002(b) of the CARES Act to proceed with any hearing

 9   regarding alleged violations of the conditions of pretrial release by

10   VTC or telephone, if VTC is not reasonably available.

11                f.   Not commit any crime or act constituting obstruction

12   of justice; however, offenses that would be excluded for sentencing

13   purposes under United States Sentencing Guidelines (“U.S.S.G.” or

14   “Sentencing Guidelines”) § 4A1.2(c) are not within the scope of this

15   agreement.

16                g.   Be truthful at all times with Pretrial Services, the

17   United States Probation Office, and the Court.

18                h.   Pay the applicable special assessment at or before the

19   time of sentencing unless defendant lacks the ability to pay and

20   prior to sentencing submits a completed financial statement on a form

21   to be provided by the USAO.

22                i.   Agree to and not oppose the imposition of the

23   following conditions of probation or supervised release:

24                     i.    Defendant shall not knowingly contact, or attempt

25   to contact, the victim, or the victim’s family, including but not

26   limited to the victim’s parents, siblings, other relatives, any

27   spouse or significant other with whom the victim may share an

28   intimate relationship, directly or indirectly by any means, including
                                          3
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 1   but not limited to in person, by mail, telephone, email, text

 2   message, or other electronic means, or through a third party. With

 3   respect to defendant’s and victim’s children, defendant agrees to

 4   abide by any Family Court Order regarding custody and visitation

 5   present or in the future;

 6                    ii.   Defendant shall not attempt to locate the victim

 7   or the victim’s family, or attempt to obtain information concerning

 8   the whereabouts, phone numbers, email addresses, or other personal

 9   identifiers of the victim or the victim’s families.

10                              THE USAO’S OBLIGATIONS

11        3.    The USAO agrees to:
12              a.    Not contest facts agreed to in this agreement.
13              b.    Abide by all agreements regarding sentencing contained
14   in this agreement.
15              c.    At the time of sentencing, provided that defendant
16   demonstrates an acceptance of responsibility for the offense up to
17   and including the time of sentencing, recommend a two-level reduction
18   in the applicable Sentencing Guidelines offense level, pursuant to
19   U.S.S.G. § 3E1.1, and, if necessary, move for an additional one-level
20   reduction if available under that section.
21                              NATURE OF THE OFFENSE
22        4.    Defendant understands that for defendant to be guilty of
23   the crime charged in the single-count information, that is, Assault
24   by Striking, Beating, or Wounding, in violation of Title 18, United
25   States Code, Section 113(a)(4), the following must be true: (1)
26   defendant assaulted victim P.V. by intentionally striking, beating,
27   or wounding her; and (2) the assault took place on federal
28   jurisdiction.
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 1                            PENALTIES AND RESTITUTION

 2        5.    Defendant understands that the statutory maximum sentence

 3   that the Court can impose for a violation of Title 18, United States

 4   Code, Section 113(a)(4) is: one year of imprisonment; a one-year

 5   period of supervised release; a fine of $100,000; and a mandatory

 6   special assessment of $25.

 7        6.    Defendant understands that the statutory mandatory minimum

 8   sentence that the Court must impose for a violation of Title 18,

 9   United States Code, Section 113(a)(4) is: a term of probation not

10   exceeding five years; and a mandatory special assessment of $25.

11        7.    Defendant understands that supervised release is a period

12   of time following imprisonment during which defendant will be subject

13   to various restrictions and requirements. Defendant understands that

14   if defendant violates one or more of the conditions of any supervised

15   release imposed, defendant may be returned to prison for all or part

16   of the term of supervised release authorized by statute for the

17   offense that resulted in the term of supervised release, which could

18   result in defendant serving a total term of imprisonment greater than

19   the statutory maximum stated above.

20        8.    Defendant understands that defendant will be required to

21   pay full restitution to the victim of the offense to which defendant

22   is pleading guilty. Defendant agrees that, in return for the USAO’s

23   compliance with its obligations under this agreement, the Court may

24   order restitution to persons other than the victim of the offense to

25   which defendant is pleading guilty and in amounts greater than those

26   alleged in the count to which defendant is pleading guilty. In

27   particular, defendant agrees that the Court may order restitution to

28   any victim of any of the following for any losses suffered by that

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 1   victim as a result: any relevant conduct, as defined in U.S.S.G. §

 2   1B1.3, in connection with the offense to which defendant is pleading

 3   guilty.

 4        9.      Defendant agrees that any and all fines and/or restitution

 5   ordered by the Court will be due immediately. The government is not

 6   precluded from pursuing, in excess of any payment schedule set by the

 7   Court, any and all available remedies by which to satisfy defendant’s

 8   payment of the full financial obligation, including referral to the

 9   Treasury Offset Program.

10        10.     Defendant understands that, by pleading guilty, defendant

11   may be giving up valuable government benefits and valuable civic

12   rights.    Specifically, defendant understands that, by pleading guilty

13   to a misdemeanor crime of domestic violence (i.e., any crime—

14   including assault, battery, or other offenses—with a penalty of one
15   year or less that involved the use or attempted use of physical force
16   or the threatened use of a deadly weapon against a spouse, intimate
17   partner, child, stepchild, or victim with a similar relationship to
18   defendant), it is unlawful for defendant to possess or purchase a
19   firearm, including a rifle, pistol, or revolver, or ammunition,
20   pursuant to federal law under 18 U.S.C. § 922(g)(9) and/or applicable
21   state law.    Defendant further understands that the conviction in this
22   case may also subject defendant to various other collateral
23   consequences, including but not limited to revocation of probation,
24   parole, or supervised release in another case and suspension or
25   revocation of a professional license. Defendant understands that
26   unanticipated collateral consequences will not serve as grounds to
27   withdraw defendant’s guilty plea.
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 1        11.   Defendant understands that, if defendant is not a United

 2   States citizen, the conviction in this case may subject defendant to:

 3   removal, also known as deportation, which may, under some

 4   circumstances, be mandatory; denial of citizenship; and denial of

 5   admission to the United States in the future. The court cannot, and

 6   defendant’s attorney also may not be able to, advise defendant fully

 7   regarding the immigration consequences of the conviction in this

 8   case. Defendant understands that unexpected immigration consequences

 9   will not serve as grounds to withdraw defendant’s guilty plea.

10                                   FACTUAL BASIS

11        12.   Defendant admits that defendant is, in fact, guilty of the
12   offense to which defendant is agreeing to plead guilty. Defendant and
13   the USAO agree to the statement of facts provided below and agree
14   that this statement of facts is sufficient to support a plea of
15   guilty to the charge described in this agreement and to establish the
16   Sentencing Guidelines factors set forth in paragraph 14 below but is
17   not meant to be a complete recitation of all facts relevant to the
18   underlying criminal conduct or all facts known to either party that
19   relate to that conduct.
20        On July 13, 2021, in Los Angeles County, defendant intentionally
21   assaulted his spouse, victim P.V., by striking, beating, and wounding
22   her. Specifically, defendant assaulted P.V. by intentionally slamming
23   a wooden door on P.V.’s body and head. The injury inflicted by
24   defendant resulted in a laceration on P.V.’s face and bruising on
25   P.V.’s arm, leg, and face.
26        Defendant committed the foregoing assault while present within
27   the territorial jurisdiction of the United States, namely, at
28   Reservation Point on Terminal Island, which is within the exclusive
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     Case 2:21-cr-00493-DMG Document 29 Filed 10/20/21 Page 8 of 20 Page ID #:79



 1   jurisdiction of the United States.

 2                                SENTENCING FACTORS

 3        13.   Defendant understands that in determining defendant’s
 4   sentence the Court is required to calculate the applicable Sentencing
 5   Guidelines range and to consider that range, possible departures
 6   under the Sentencing Guidelines, and the other sentencing factors set
 7   forth in 18 U.S.C. § 3553(a). Defendant understands that the
 8   Sentencing Guidelines are advisory only, that defendant cannot have
 9   any expectation of receiving a sentence within the calculated
10   Sentencing Guidelines range, and that after considering the
11   Sentencing Guidelines and the other § 3553(a) factors, the Court will
12   be free to exercise its discretion to impose any sentence it finds
13   appropriate up to the maximum set by statute for the crime of
14   conviction.
15        14.   Defendant and the USAO agree to the following applicable
16   Sentencing Guidelines factors:
17      Base Offense Level:                    7        U.S.S.G. § 2A2.3(a)(1)
18   Defendant and the USAO reserve the right to argue that additional
19   specific offense characteristics, adjustments, and departures under
20   the Sentencing Guidelines are appropriate.
21        15.   Defendant understands that there is no agreement as to
22   defendant’s criminal history or criminal history category.
23        16.   Defendant and the USAO reserve the right to argue for a
24   sentence outside the sentencing range established by the Sentencing
25   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
26   (a)(2), (a)(3), (a)(6), and (a)(7).
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 1                         WAIVER OF CONSTITUTIONAL RIGHTS

 2        17.   Defendant understands that by pleading guilty, defendant

 3   gives up the following rights:

 4              a.    The right to persist in a plea of not guilty.

 5              b.    The right to a speedy and public trial by jury.

 6              c.    The right to be represented by counsel –- and if

 7   necessary have the court appoint counsel -- at trial. Defendant

 8   understands, however, that, defendant retains the right to be

 9   represented by counsel –- and if necessary have the court appoint

10   counsel –- at every other stage of the proceeding.

11              d.    The right to be presumed innocent and to have the

12   burden of proof placed on the government to prove defendant guilty

13   beyond a reasonable doubt.

14              e.    The right to confront and cross-examine witnesses

15   against defendant.

16              f.    The right to testify and to present evidence in

17   opposition to the charges, including the right to compel the

18   attendance of witnesses to testify.

19              g.    The right not to be compelled to testify, and, if

20   defendant chose not to testify or present evidence, to have that

21   choice not be used against defendant.

22              h.    Any and all rights to pursue any affirmative defenses,

23   Fourth Amendment or Fifth Amendment claims, and other pretrial

24   motions that have been filed or could be filed.

25                         WAIVER OF APPEAL OF CONVICTION

26        18.   Defendant understands that, with the exception of an appeal
27   based on a claim that defendant’s guilty plea was involuntary, by
28   pleading guilty defendant is waiving and giving up any right to
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     Case 2:21-cr-00493-DMG Document 29 Filed 10/20/21 Page 10 of 20 Page ID #:81



 1   appeal defendant’s conviction on the offense to which defendant is

 2   pleading guilty. Defendant understands that this waiver includes, but

 3   is not limited to, arguments that the statute to which defendant is

 4   pleading guilty is unconstitutional, and any and all claims that the

 5   statement of facts provided herein is insufficient to support

 6   defendant’s plea of guilty.

 7     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

 8        19.   Defendant agrees that, provided the Court imposes a total
 9   term of imprisonment within or below the range corresponding to an
10   offense level of 7 and the criminal history category calculated by
11   the Court, defendant gives up the right to appeal all of the
12   following: (a) the procedures and calculations used to determine and
13   impose any portion of the sentence; (b) the term of imprisonment
14   imposed by the Court, including, to the extent permitted by law, the
15   constitutionality or legality of defendant’s sentence, provided it is
16   within the statutory maximum; (c) the fine imposed by the court,
17   provided it is within the statutory maximum; (d) the term of
18   probation or supervised release imposed by the Court, provided it is
19   within the statutory maximum; (e) the amount and terms of any
20   restitution order; and (f) any of the following conditions of
21   probation or supervised release imposed by the Court: the conditions
22   set forth in General Order 20-04 of this Court; the drug testing
23   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); the
24   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7);
25   and the condition that defendant shall not contact, directly or
26   indirectly, victim P.V, and any conditions of probation or supervised
27   release agreed to by defendant in paragraph 2 above.
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 1        20.   Defendant also gives up any right to bring a post-

 2   conviction collateral attack on the conviction or sentence, except a

 3   post-conviction collateral attack based on a claim of ineffective

 4   assistance of counsel, a claim of newly discovered evidence, or an

 5   explicitly retroactive change in the applicable Sentencing

 6   Guidelines, sentencing statutes, or statutes of conviction. Defendant

 7   understands that this waiver includes, but is not limited to,

 8   arguments that the statute to which defendant is pleading guilty is

 9   unconstitutional, and any and all claims that the statement of facts

10   provided herein is insufficient to support defendant’s plea of

11   guilty.

12        21.   The USAO agrees that, provided (a) all portions of the

13   sentence are at or below the statutory maximum specified above and

14   (b) the Court imposes a total term of imprisonment within or above

15   the range corresponding to an offense level of 7 and the criminal

16   history category calculated by the Court, the USAO gives up its right

17   to appeal any portion of the sentence.

18                       RESULT OF WITHDRAWAL OF GUILTY PLEA

19        22.   Defendant agrees that if, after entering a guilty plea
20   pursuant to this agreement, defendant seeks to withdraw and succeeds
21   in withdrawing defendant’s guilty plea on any basis other than a
22   claim and finding that entry into this plea agreement was
23   involuntary, then (a) the USAO will be relieved of all of its
24   obligations under this agreement; and (b) should the USAO choose to
25   pursue any charge that was either dismissed or not filed as a result
26   of this agreement, then (i) any applicable statute of limitations
27   will be tolled between the date of defendant’s signing of this
28   agreement and the filing commencing any such action; and
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     Case 2:21-cr-00493-DMG Document 29 Filed 10/20/21 Page 12 of 20 Page ID #:83



 1   (ii) defendant waives and gives up all defenses based on the statute

 2   of limitations, any claim of pre-indictment delay, or any speedy

 3   trial claim with respect to any such action, except to the extent

 4   that such defenses existed as of the date of defendant’s signing this

 5   agreement.

 6                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

 7        23.     Defendant agrees that if the count of conviction is
 8   vacated, reversed, or set aside, both the USAO and defendant will be
 9   released from all their obligations under this agreement.
10                           EFFECTIVE DATE OF AGREEMENT
11        24.     This agreement is effective upon signature and execution of
12   all required certifications by defendant, defendant’s counsel, and an
13   Assistant United States Attorney.
14                                BREACH OF AGREEMENT
15        25.     Defendant agrees that if defendant, at any time after the
16   signature of this agreement and execution of all required
17   certifications by defendant, defendant’s counsel, and an Assistant
18   United States Attorney, knowingly violates or fails to perform any of
19   defendant’s obligations under this agreement (“a breach”), the USAO
20   may declare this agreement breached. All of defendant’s obligations
21   are material, a single breach of this agreement is sufficient for the
22   USAO to declare a breach, and defendant shall not be deemed to have
23   cured a breach without the express agreement of the USAO in writing.
24   If the USAO declares this agreement breached, and the Court finds
25   such a breach to have occurred, then: (a) if defendant has previously
26   entered a guilty plea pursuant to this agreement, defendant will not
27   be able to withdraw the guilty plea, and (b) the USAO will be
28   relieved of all its obligations under this agreement.
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 1     COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES OFFICE NOT

 2                                       PARTIES

 3        26.   Defendant understands that the Court and the United States
 4   Probation and Pretrial Services Office are not parties to this
 5   agreement and need not accept any of the USAO’s sentencing
 6   recommendations or the parties’ agreements to facts or sentencing
 7   factors.
 8        27.   Defendant understands that both defendant and the USAO are
 9   free to: (a) supplement the facts by supplying relevant information
10   to the United States Probation Office and the Court, (b) correct any
11   and all factual misstatements relating to the Court’s Sentencing
12   Guidelines calculations and determination of sentence, and (c) argue
13   on appeal and collateral review that the Court’s Sentencing
14   Guidelines calculations and the sentence it chooses to impose are not
15   error, although each party agrees to maintain its view that the
16   calculations in paragraph 14 are consistent with the facts of this
17   case. While this paragraph permits both the USAO and defendant to
18   submit full and complete factual information to the United States
19   Probation Office and the Court, even if that factual information may
20   be viewed as inconsistent with the facts agreed to in this agreement,
21   this paragraph does not affect defendant’s and the USAO’s obligations
22   not to contest the facts agreed to in this agreement.
23        28.   Defendant understands that even if the Court ignores any
24   sentencing recommendation, finds facts or reaches conclusions
25   different from those agreed to, and/or imposes any sentence up to the
26   maximum established by statute, defendant cannot, for that reason,
27   withdraw defendant’s guilty plea, and defendant will remain bound to
28   fulfill all defendant’s obligations under this agreement. Defendant

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 1   understands that no one –- not the prosecutor, defendant’s attorney,

 2   or the Court –- can make a binding prediction or promise regarding

 3   the sentence defendant will receive, except that it will be within

 4   the statutory maximum.

 5                             NO ADDITIONAL AGREEMENTS

 6        29.   Defendant understands that, except as set forth herein,
 7   there are no promises, understandings, or agreements between the USAO
 8   and defendant or defendant’s attorney, and that no additional
 9   promise, understanding, or agreement may be entered into unless in a
10   writing signed by all parties or on the record in court.
11                PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
12        30.   The parties agree that this agreement will be considered
13   part of the record of defendant’s guilty plea hearing as if the
14   entire agreement had been read into the record of the proceeding.
15   AGREED AND ACCEPTED
16   UNITED STATES ATTORNEY’S OFFICE
     FOR THE CENTRAL DISTRICT OF
17   CALIFORNIA
18   TRACY L. WILKISON
     Acting United States Attorney
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                                                       
20
     ASHLEY FILLMORE
             FIL
              ILLMORE                                 Date
21   Assistant
     A   i t t United
       ssistant U  it d States
                 Unite  St t   Attorney
                               A
                                                          10-18-21
22
     JOHN
      OHN EDWARD VILLAFRATE
                 VIL                                  Date
23   Defendant
        endant
24                                                    10-18-21
     NEHA
        A CHRISTERNA
          CHRIST                                      Date
25   Deputy Federal Public Defender
     Attorney for Defendant
26   JOHN EDWARD VILLAFRATE
27

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 1                            CERTIFICATION OF DEFENDANT

 2        I have read this agreement in its entirety. I have had enough

 3   time to review and consider this agreement, and I have carefully and

 4   thoroughly discussed every part of it with my attorney. I understand

 5   the terms of this agreement, and I voluntarily agree to those terms.

 6   I have discussed the evidence with my attorney, and my attorney has

 7   advised me of my rights, of possible pretrial motions that might be

 8   filed, of possible defenses that might be asserted either prior to or

 9   at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),

10   of relevant Sentencing Guidelines provisions, and of the consequences

11   of entering into this agreement. No promises, inducements, or

12   representations of any kind have been made to me other than those

13   contained in this agreement. No one has threatened or forced me in

14   any way to enter into this agreement. I am satisfied with the

15   representation of my attorney in this matter, and I am pleading

16   guilty because I am guilty of the charges and wish to take advantage

17   of the promises set forth in this agreement, and not for any other

18   reason.
       ason.
19                                                    10-18-21

20   JOHN EDWARD VILLAFRATE                         Date
     Defendant
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 1                      CERTIFICATION OF DEFENDANT’S ATTORNEY

 2        I am JOHN EDWARD VILLAFRATE’s attorney. I have carefully and

 3   thoroughly discussed every part of this agreement with my client.

 4   Further, I have fully advised my client of his rights, of possible

 5   pretrial motions that might be filed, of possible defenses that might

 6   be asserted either prior to or at trial, of the sentencing factors

 7   set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

 8   provisions, and of the consequences of entering into this agreement.

 9   To my knowledge: no promises, inducements, or representations of any

10   kind have been made to my client other than those contained in this

11   agreement; no one has threatened or forced my client in any way to

12   enter into this agreement; my client’s decision to enter into this

13   agreement is an informed and voluntary one; and the factual basis set

14   forth in this agreement is sufficient to support my client’s entry of

15   a guilty
        uilty plea
              ple pursuant to this agreement.
16
                                                       10/18/21
17   NEHA
        A CHRISTERNA
          CHRISTE                                     Date
     Deputy Federal Public Defender
18   Attorney for Defendant
     JOHN EDWARD VILLAFRATE
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                             Exhibit A
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 1

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 5                                                10/20/2021
 6                                                     JB


 7

 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                No. 2:21-cr-00493-DMG

11              Plaintiff,                    I N F O R M A T I O N

12              v.                            [18 U.S.C. § 113(a)(4): Assault by
                                              Striking, Beating, or Wounding]
13   JOHN EDWARD VILLAFRATE,
                                              [CLASS A MISDEMEANOR]
14              Defendant.

15

16        The United States Attorney charges:
17                              [18 U.S.C. § 113(a)(4)]
18        On or about July 13, 2021, in Los Angeles County, within the
19   Central District of California, and within the special territorial
20   jurisdiction of the United States, namely, Reservation Point on
21   Terminal Island in Long Beach, California, defendant JOHN EDWARD
22   VILLAFRATE intentionally assaulted victim P.V. by intentionally
23   //
24   //
25   //
26   //
27   //
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 1   striking, beating, and wounding P.V., specifically by slamming a door

 2   on P.V.’s body and head.

 3

 4                                         TRACY L. WILKISON
                                           Acting United States Attorney
 5

 6

 7
                                           SCOTT M. GARRINGER
 8                                         Assistant United States Attorney
                                           Chief, Criminal Division
 9
                                           JOSHUA O. MAUSNER
10                                         Assistant United States Attorney
                                           Deputy Chief, General Crimes Section
11
                                           ASHLEY FILLMORE
12                                         Assistant United States Attorney
                                           General Crimes Section
13

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 1                              CERTIFICATE OF SERVICE

 2
          I, Mercedes Romero, declare:
 3

 4        That I am a citizen of the United States and a resident of or

 5   employed in Los Angeles County, California; that my business address

 6   is the Office of United States Attorney, 312 North Spring Street,
 7   Los Angeles, California 90012; that I am over the age of 18; and
 8
     that I am not a party to the above-titled action;
 9
          That I am employed by the United States Attorney for the
10
     Central District of California, who is a member of the Bar of the
11

12   United States District Court for the Central District of California,

13   at whose direction I served a copy of:

14                                    PLEA AGREEMENT
15
      ‫ ܆‬Placed in a closed envelope           ‫ ܆‬Placed in a sealed envelope
16      for collection and inter-               for collection and mailing
        office delivery, addressed as           via United States mail,
17      follows:                                addressed as follows:

18

19    ‫ ܆‬By hand delivery, addressed           ‫ ܆‬By facsimile, as follows:
        as follows:
20
      ‫ ܈‬Via email, as follows:               ‫ ܆‬By Federal Express, as
21                                              follows:
         1HKDBFKULVWHUQD#IGRUJ
22
     This Certificate is executed on October 20, 202, at Los Angeles,
23
     California.    I certify under penalty of perjury that the foregoing
24
     is true and correct.
25

26
                                              Mercedes Romero
27                                            Mercedes Romero
                                              Legal Assistant
28
